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 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8 UNITED STATES OF AMERICA,                            )
                                                        )
 9                                  Plaintiff,          )     Case No. MJ10-426
                                                        )
10                           v.                         )     ORDER DENYING MOTION
                                                        )     FOR US MARSHAL TO
11 AKOP DANIYELYAN,                                     )     PROVIDE AIRFARE
                                                        )
12                                  Defendant.          )

13       Defendant is charged in this District with conspiracy to commit bank fraud. He was arrested

14 on this charge in the Central District of California and released after making an initial

15 appearance there. See Dkt. 3. He moves the Court to order the U.S. Marshal Service to provide

16 him with round trip airfare from Burbank International Airport to SeaTac Airport so that he may

17 attend his initial appearance hearing in this District. Id.

18       This Court does not have the authority to grant defendant’s request. Under 18 U.S.C. §

19 4285 any judge “when ordering a person released . . . on condition of his subsequent appearance

20 before . . . any court of the United States in another judicial district in which criminal

21 proceedings are pending may . . . direct the United States marshal to arrange of that person’s

22 means of non-custodial transportation.”

23        This Court did not order defendant’s release, thus this Court lacks authority under § 4285 to


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     AIRFARE- 1
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 1 order the marshal to pay for defendant’s transportation. Rather, defendant’s request should have

 2 been made to the judge in the Central District of California who ordered defendant’s release.

 3 Moreover, § 4285 allows only payment of one-way travel to a court appearance, and not for costs

 4 of return travel as requested by defendant. See United States v. Headden, 2009 WL 2960382 *1

 5 (D. Ariz. 2009) (unpublished). Defendant may renew his motion if he believes there is other

 6 authority that would allow this Court to order the marshal to pay for his airfare. Otherwise,

 7 defendant should bring this motion in the Central District of California.

 8       For these reasons, the motion is DENIED.

 9       DATED this 26th day of October, 2010.

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12                                                       A
                                                         BRIAN A. TSUCHIDA
13                                                       United States Magistrate Judge

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     ORDER DENYING MOTION FOR US MARSHAL TO PROVIDE
     AIRFARE- 2
